              Case MDL No. 2942 Document 775 Filed 08/17/20 Page 1 of 4



                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                                                       MDL No. 2942


                 ORDER GRANTING MOTION FOR RECONSIDERATION


       Before the Panel:* Plaintiffs in two related actions request that the Panel reconsider its order
denying centralization in this docket. See MDL No. 2942 (J.P.M.L. Aug. 13, 2020), ECF No. 773.
Specifically, plaintiffs request the Panel issue a show cause order as to why fifteen actions naming
Travelers Indemnity Company and related insurers should not be centralized.1 Plaintiff in one
additional action has joined this motion.

         In our order denying centralization, we directed the Clerk of the Panel to issue show cause
orders with respect to actions naming four insurers or groups of related insurers. With respect to
those four insurers or insurer groups, we concluded that centralization may be warranted to eliminate
duplicative discovery and pretrial practice. We are persuaded that the fifteen actions naming the
Travelers insurers as defendants likewise may benefit from centralization. Accordingly, we will
direct the Clerk of the Panel to issue a show cause order with respect to the fifteen Travelers actions
listed on Schedule A.2 As with the prior show cause orders, the due date for responses to the show
cause orders will be expedited to ensure that the Panel will be able to consider the matter at its next
hearing session on September 24, 2020.

       IT IS THEREFORE ORDERED that the motion for reconsideration is granted.

        IT IS FURTHER ORDERED that the Clerk of the Panel shall issue a show cause order as
to the actions listed on Schedule A. The show cause order shall be captioned “In re: Travelers
COVID-19 Business Interruption Protection Insurance Litigation.”



       *
           Judges Karen K. Caldwell and David C. Norton took no part in the decision of this matter.
       1
        Movants alternatively request an order centralizing the Travelers cases. This request is
improper because none of these actions were listed on the centralization motions in this docket. See
Order Denying Transfer and Directing Issuance of Show Cause Orders at 4 n.7, MDL No. 2942
(J.P.M.L. Aug. 12, 2020), ECF No. 772.
       2
        One of the actions listed on movants’ motion for reconsideration recently was consolidated
with a declaratory judgment action brought by Travelers and closed. The active declaratory
judgment action is listed on Schedule A.
          Case MDL No. 2942 Document 775 Filed 08/17/20 Page 2 of 4



      IT IS FURTHER ORDERED that responses to the above show cause orders shall be due on
August 31, 2020, and replies on September 4, 2020.


                                  PANEL ON MULTIDISTRICT LITIGATION



                                  __________________________________________
                                               Ellen Segal Huvelle
                                                  Acting Chair

                                  R. David Proctor           Catherine D. Perry
                                  Nathaniel M. Gorton        Matthew F. Kennelly
        Case MDL No. 2942 Document 775 Filed 08/17/20 Page 3 of 4



IN RE: COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                                  MDL No. 2942


                                   SCHEDULE A

                 Central District of California

     TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA v. GERAGOS
           AND GERAGOS, C.A. No. 2:20–03619
     MARKS ENGINE COMPANY NO. 28 RESTAURANT, LLC v. TRAVELERS
           INDEMNITY COMPANY OF CONNECTICUT, ET AL, C.A. No. 2:20–04423
     G & P HOSPITALITY, LLC v. THE TRAVELERS COMPANIES, INC.,
           C.A. No. 2:20–05148

                 Northern District of California

     MUDPIE, INC. v. TRAVELERS CASUALTY INSURANCE COMPANY OF
         AMERICA, C.A. No. 4:20–03213

                 Eastern District of Missouri

     GLENN R. EDWARDS, INC., ET AL. v. THE TRAVELERS COMPANIES, INC.,
         ET AL., C.A. No. 4:20–00877

                 District of New Jersey

     J.G. OPTICAL, INC. v. THE TRAVELERS COMPANIES, INC., C.A. No. 2:20–05744

                 Southern District of New York

     SERVEDIO v. TRAVELERS CASUAL INSURANCE COMPANY OF AMERICA,
          C.A. No. 1:20–03907

                 Eastern District of Pennsylvania

     ERIC R. SHANTZER, DDS v. TRAVELERS CASUALTY INSURANCE COMPANY
           OF AMERICA, ET AL., C.A. No. 2:20–02093

                 Northern District of Texas

     SALUM RESTAURANT LTD. v. THE TRAVELERS INDEMNITY COMPANY,
         C.A. No. 3:20–01034
   Case MDL No. 2942 Document 775 Filed 08/17/20 Page 4 of 4



                                  -A2-

           Southern District of Texas

FROSCH HOLDCO, INC., ET AL. v. THE TRAVELERS INDEMNITY COMPANY,
     ET AL., C.A. No. 4:20–01478

           Western District of Washington

NGUYEN v. TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA,
      C.A. No. 2:20–00597
FOX v. TRAVELERS CASUALTY COMPANY OF AMERICA, C.A. No. 2:20–00598
HSUE v. TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA,
      C.A. No. 2:20–00622
KASHNER v. TRAVELERS INDEMNITY COMPANY OF AMERICA,
      C.A. No. 2:20–00625
BATH v. TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA,
      C.A. No. 3:20–05489
